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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )                 8:12CR107
                     Plaintiff,              )
                                             )
       vs.                                   )                   ORDER
                                             )
TAMMY L. SCHUCK,                             )
TABATHA N. ASHBURN and                       )
CHRISTOPHER J. TIERNEY,                      )
                                             )
                     Defendant.              )
       This matter is before the court on the motion for a continuance of trial by defendant
Tammy L. Schuck (Schuck) (Filing No. 114). Schuck seeks a continuance of the trial of
this matter currently scheduled for August 13, 2013. Schuck has filed an affidavit wherein
she consents to the motion and acknowledges she understands the additional time may
be excludable time for the purposes of the Speedy Trial Act (Filing No. 115). The motion
was heard during a Rule 17.1 conference on June 13, 2013. Mark W. Bubak appeared for
Schuck. A. Michael Bianchi appeared for defendant Ashburn. John C. Wieland appeared
for defendant Tierney. Assistant U.S. Attorneys John E. Higgins and Donald J. Kleine
appeared for the United States. Following a discussion with counsel, the motion will be
granted to the extent trial will be rescheduled for October 8, 2013, before Chief Judge
Laurie Smith Camp and a jury. Mr. Bubak entered his appearance herein on February 4,
2013. Despite the mass of discovery in records and recordings, there should be adequate
time to prepare for trial by October 8, 2013. The Rule 17.1 conference will be rescheduled.


       IT IS ORDERED:
       1.     Defendant Schuck's motion for a continuance of trial (Filing No. 114) is
granted to the extent the trial of this matter is rescheduled to commence on October 8,

2013. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendants in a speedy trial. The additional time arising as
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a result of the granting of the motion, i.e., the time between June 13, 2013, and October

8, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendants' counsel require additional
time to adequately prepare the case, taking into consideration due diligence of counsel,
and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       2.     The court will hold a Rule 17.1 conference with counsel in Courtroom No. 7,
Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,

Nebraska, at 10:00 a.m. on August 22, 2013, for the purpose of preparing this case for
trial. Counsel for the defendants are required to attend. Defendants are not required to
attend.


                                        ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order shall be filed with the Clerk
of the Court within fourteen (14) days after being served with a copy of this Order. Failure
to timely object may constitute a waiver of any such objection. The brief in support of any
objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.


       DATED this 13th day of June, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge




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